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                   IN THE UNITED          STATES DISTRICT COURT
                   FOR THE   SOUTHERN DISTRICT OF GEORGIA
                               AUGUSTA DIVISION



UNITED   STATES      OF AMERICA              *


              v.                             *         CR   110-251-006


SOLOMON M.     GRIER                         *




                                      ORDER




        In the captioned criminal matter,                    Defendant Solomon M.

Grier has filed a          uMotion to Grant Jail Time Credit"                    in which

he seeks certain periods of time presumably served in federal

custody to be credited against his federal sentence.

        In his motion, Defendant states that he was not given a

consecutive sentence.               However,      the Judgment and Commitment

Order    in   this    case     is    silent       as    to   whether       his   federal

sentence is to run concurrent to any state sentence.                                When

multiple terms of imprisonment are imposed at different times,

as here, the terms are presumed to run consecutively unless

the   court   orders       otherwise.        18    U.S.C.      §    3584(a).      To the

extent    that     Grier     seeks    a    modification        of    his   sentence    to

reflect that the federal sentence is concurrent with a state

sentence,     this Court lacks the authority to do so.                            See 18

U.S.C.    § 3582(c)-1


     1 Section 3582(c) provides limited exceptions to this
general rule, none of which apply to this case.
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        Further,       matters     of     credit      for   time    served       and    other

length of sentence determinations are better directed to the

Bureau of Prisons ("BOP")/ not this Court.                          Indeed, a request

for a nunc pro tunc order of concurrency is tantamount to a

request    for post-sentencing leniency or clemency,                              which is

"the proper domain of the executive branch,                          not the judicial

branch."         Hunter v. Tamez, 622 F.3d 427,                  431 (5th Cir.         2010).

In short, this is a decision within the discretion of the BOP.

        Moreover,        a    judicial       challenge      to    the    BOP's    decision

regarding the execution of a federal sentence must be brought

under 28 U.S.C.          § 2241 in the district of confinement rather

than in the sentencing court.                  Fernandez v. United States, 941

F.2d 1488,        1495       (11th Cir.      1991);    see also United States v.

Nyhuis,    211 F.3d 1340,            1345 (11th Cir.             2000)     ("A claim for

credit for time served is brought under 28 U.S.C. § 2241 after

the exhaustion of              administrative remedies.").                  Accordingly,

once Defendant exhausts his administrative remedies with the

BOP, he must bring his § 2241 challenge in the District of

South Carolina,              which has territorial jurisdiction over the

facility in which Defendant is presently incarcerated.                                   This

Court simply does not have jurisdiction to consider the

matter.          See   Rumsfield        v.    Padilla,      542     U.S.    426,       442-43

(2004) .

        Upon the foregoing, Defendant's motion for time credit

(doc.    94 6)    is DENIED.
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        ORDER    ENTERED   at Augusta, Georgia, this q>/'Cr 'day of
July,    2016.




                                                                 HALL
                                       UNITED    TATES DISTRICT JUDGE
                                       southe:   DISTRICT   OF   GEORGIA
